7 F.3d 1042
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that they are not precedent and generally should not be cited unless relevant to establishing the doctrines of res judicata, collateral estoppel, the law of the case, or if the opinion has persuasive value on a material issue and no published opinion would serve as well.Michael T. BOLANDER;  Eugene William Brokaw, Plaintiffs-Appellants,v.WASHINGTON UNIT MANAGER; C. C. Nix, Warden; John Henry;John Emmett; Captain Burton, Defendants-Appellees.
    No. 93-1225.
    United States Court of Appeals,Eighth Circuit.
    Submitted:  October 15, 1993.Filed:  October 28, 1993.
    
      Before McMILLIAN, Circuit Judge, LAY, Senior Circuit Judge, and BOWMAN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Upon review of the overall record, the Findings of Fact and Conclusions of Law made by the District Court, and the briefs filed on appeal in this court, we affirm the judgment of dismissal of the plaintiffs' claim based upon the well-reasoned opinion of the District Court.
    
    
      2
      See 8th Cir.  R. 47B.
    
    
      3
      IT IS SO ORDERED.
    
    